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                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                             UNITED STATES DISTRICT COURT                                 April 15, 2020
                              SOUTHERN DISTRICT OF TEXAS                               David J. Bradley, Clerk
                                  HOUSTON DIVISION

DOTUN DAVID FAKEYE, et al,                       §
                                                 §
        Plaintiffs,                              §
VS.                                              §           CIVIL ACTION NO. 4:18-CV-1916
                                                 §
UNITED STATES GOVERNMENT, et al,                 §
                                                 §
        Defendants.                              §

                                            ORDER

       Plaintiffs initiated this case pro se on June 11, 2018. 1 Doc. #1. The entire complaint—

which is largely unintelligible—states:

               “I am sueing you after treaty. Treaty is not conspiracy. My nuclear
               is set in Russia. My allies are exception until United States
               Government, CIA, United States Police, and the 45 states comply.
               Keep off my extended family and my businesses. Face the wall
               when coincidentally. I will hit the United States Government like I
               am educated. $36 trillion for conspiring my exception.

               And insisting on having the right to remove and hit any conspiracy
               building or center field and places that look like it.”

Id. Plaintiffs have repeatedly filed similarly incoherent and inflammatory complaints with courts

in this district. See, e.g., Dotun Fakeye v. United States Government, Civil Action No. 4:18-CV-

946 at Doc. #3 (dismissing with prejudice as factually frivolous); Dotun David Fakeye, et al. v.

Unites States Government, et al., Civil Action. No. 4:17-CV-01243 at Doc. #6 (dismissing without

prejudice for want of prosecution); Dotun David Fakeye, et al. v. United States Government, et al.,

Miscellaneous Action No. 4:17-MC-2204 at Doc. #2 (denying application to proceed in forma



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  On October 12, 2018, the Court held a show cause hearing after Plaintiffs failed to attend the
Scheduling Conference. During the hearing, the Court ordered Plaintiff Dotun David Fakeye to
file proper service on defendants within 30 days. More than a year later, Plaintiffs have still not
effectuated service of process.
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pauperis); Fakeye v. United States Government et al., Miscellaneous Action No. 4:17-MC-282 at

Doc. #2 (same).

       Here, because Plaintiffs proceed in forma pauperis, the Court is required to scrutinize the

complaint and dismiss the case if the Court determines that the action “is frivolous or malicious.”

28 U.S.C. § 1915(e)(2)(B). A complaint is factually frivolous “when the facts alleged rise to the

level of irrational or wholly incredible.” Denton v. Hernandez, 504 U.S. 25, 33 (1992). If the

complaint’s allegations are only unlikely or improbable, it cannot be dismissed as frivolous at this

early stage. Id.

       After considering Plaintiffs’ complaint, the Court concludes that this case must be

dismissed. The facts alleged in the complaint are not only “irrational and wholly incredible” but

also threatening in tone. This action is undoubtedly frivolous.

       Accordingly, this civil action is hereby DISMISSED WITH PREJUDICE pursuant to 28

U.S.C. § 1915(e)(2)(B).      Additionally, Plaintiffs are hereby WARNED that they may face

sanctions, including monetary penalties and restrictions on their ability to access the courts, if they

continue to file frivolous lawsuits.

       It is so ORDERED.



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Date                                                       Honorable
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                                                      United States District Judge
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